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Rule Author/Division Director: Dawn Odean                       Email(s): Dawn.odean@state.co.us

Program/Division: Colorado Universal Preschool Program          CDEC Tracking No.: 2024-09-008
(UPK)

CCR Number(s): 8 CCR 1404-1                                     SOS Tracking No.: TBD


                                         RULEMAKING PACKET
Reason for the proposed          Compliance with Federal and/or State laws, mandates, or guidelines
rule or amendment(s):           If there are “Multiple/Other" reasons, please explain:



Emergency Rule                  N/A
Justification (if applicable)

Provide a description of the
                                Section 26.5-4-205, C.R.S. requires the Department to establish Quality
proposed rule or
                                Standards for the Colorado Universal Preschool Program (Program) through
amendment(s) that is
                                rulemaking to ensure all participating children receive high-quality
clearly and simply stated,
                                publicly-funded preschool services. In the current Quality Standards, section
and what CDEC intends to
                                4.110 outlines programmatic preferences that Program providers may utilize
accomplish:
                                during the matching process to ensure the provider can serve its intended
                                community. The preferences were created because the software used to
                                match children to Program providers relies on a deferred-acceptance
                                algorithm that does not account for the many pre-existing relationships
                                between the providers and the communities they serve.

                                The first of these programmatic preferences allows faith-based providers to
                                prioritize members of its congregation; however, any provider utilizing this
                                preference (or any of the other preferences) must still provide, as required
                                by statute, “an equal opportunity to enroll and receive preschool services
                                regardless of race, ethnicity, religious affiliation, sexual orientation, gender
                                identity, lack of housing, income level, or disability, as such characteristics
                                and circumstances apply to the child or the child’s family.” §
                                26.5-4-205(2)(b), C.R.S.; 8 CCR 1404-1 § 4.110(B). While the Department did
                                not intend the congregation preference to permit any actions in conflict with
                                section 26.5-4-205(2)(b), C.R.S., a federal district court judge found that
                                because the preference is available specifically to faith-based providers, it
                                permits distinctions based on those affiliated with faith-based providers, and
                                thus permits distinctions based on religious affiliation. See St. Mary Cath.
                                Par. in Littleton v. Roy, 2024 WL 3160324 at *32 (D. Colo. June 4, 2024).

                                This proposed amendment seeks to repeal the congregation preference in
                                section 4.110(A)(1) and the definition of “congregation” in section 4.103(L)
                                because the Department is committed to complying with the statutory
                                requirements to ensure that all children have an equal opportunity to enroll
                                in and receive quality publicly-funded preschool services regardless of
1083                            religious affiliation or any other protected-class status. All Program
                                providers, including faith-based providers, will remain eligible to utilize any
                                of the remaining preferences at section 4.110(A) that are applicable to them

                                                                                                                1
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                              (e.g. continuity-of-care, siblings, children of employees), so long as they
                              ensure an equal opportunity to enroll and receive preschool services
                              regardless of race, ethnicity, religious affiliation, sexual orientation, gender
                              identity, lack of housing, income level, or disability, as such characteristics
                              and circumstances apply to the child or the child’s family. § 26.5-4-205(2)(b),
                              C.R.S.; 8 CCR 1404-1 § 4.110(B). All Program providers can maintain ongoing
                              relationships and maintain specialized areas of focus, so long as these
                              relationships and specialities are not defined by characteristics the statute
                              protects from discrimination.

                              Some additional technical edits were made to correct capitalization errors
                              and to renumber.

Statutory Authority:          Sections 26.5-1-105(1), 26.5-4-204(4)(a), 26.5-4-205(1), (2), and 24-4-103,
(Include Federal Authority,   C.R.S.
if applicable)


Does the proposed rule or
amendment(s) impact
other State Agencies or               Yes                                     No
Tribal Communities?           If Yes, identify the State Agency and/or Tribal Community and describe
                              collaboration efforts:


Does the proposed rule or
amendment(s) have
impacts or create mandates          Yes                                       No
on counties or other       If Yes, provide description:
governmental entities?
(e.g., budgetary
requirements or
administrative burdens)


Effective Date(s) of
proposed rule or
amendment(s):                         Mandatory                               Discretionary
(Emergency/Permanent)
                               (E) Effective Date: N/A                (P) Effective Date: 01/14/2025

                               (E) Termination Date: N/A


Is the proposed rule or
amendment(s) included on
the Regulatory Agenda?                Yes                                     No
                              If no, please explain: The proposed amendments are not included on the
                              Regulatory Agenda because the amendments are necessary after a recent
                              court ruling.


Does the proposed rule or
amendment(s) conflict, or
are there inconsistencies             Yes                                     No
                              If Yes, please explain:

                                                                                                             2
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    with other provisions of
    law?

    Does the proposed rule or
    amendment(s) create
    duplication or overlapping                    Yes                                          No
    of other rules or                 If Yes, explain why:
    regulations?


    Does the proposed rule or
    amendment(s) include
    material that is                              Yes                                          No
    incorporated by reference1?       If Yes, provide source:



    Does the proposed rule or
    amendment(s) align with
                                                Reduce the administrative burden on families and providers
    the department’s
                                                accessing, implementing, or providing programs and/or services.
    rulemaking objectives?
                                                Decrease duplication and conflicts with implementing programs and
    Choose all that apply.                      providing services.

                                                Increase equity in access and outcomes to programs and services for
                                                children and families.

                                                Increase administrative efficiencies among programs and services
                                                provided by the department.

                                                Ensure that rules are coordinated across programs and services so
                                                that programs are implemented and services are provided with
                                                improved ease of access, quality of family/provider experience, and
                                                ease of implementation by state, local, and tribal agencies.




                                                    Rulemaking Proceedings

    Type of Rulemaking:
    Emergency or Permanent2            Permanent
    [Permanent Tier I or Tier II]
                                       Tier I

    Stakeholder Engagement:           List of activities and dates:



1
  Incorporation by Reference is all or any part of a code, standard, guideline, or rule that has been adopted by an agency of the
United States, this state, or another state, or adopted or published by a nationally recognized organization or association, pursuant
to section 24-4-103(12.5), C.R.S.
2
  Tier I is used for proposed rule or amendment(s) that have substantive changes, require substantial stakeholder engagement, and
will be considered at two Public Rulemaking Hearings (PRH). The first PRH is held for discussion, and the second PRH is held to
consider adoption. Tier II is used for proposed rule or amendment(s) that include technical changes, do not require substantial
stakeholder engagement, and will be considered at only one Public Rulemaking Hearing (PRH) for adoption.

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 Public Folder: Proposed
 rule, webinar
 recordings/transcripts,
 written stakeholder
 comments, material from
 small/large focus groups,
 written petitions/requests,
 surveys, data, research,      Public folder containing all rulemaking material:
 reports, published papers,
 and documents used to         https://drive.google.com/drive/u/0/folders/1zYiR3BiK1ZVxJgutMUykNCxM6
 develop the proposed rule     zcbvPJ-
 or amendment(s).

 Assistant Attorney General    09/12/2024 - 10/04/2024
 Review:



 RAC County Subcommittee       N/A
 Review Date (if required):



 Rules Advisory Council        10/10/2024
 (RAC) Review Date:



 Public Rulemaking Hearing     10/24/2024 (Discussion)
 Date(s):
 [Discussion/Adoption]         11/21/2024 (Adoption)




                                     Regulatory and Cost Benefit Analysis

1.     Community Impact: Provide a description of the stakeholders that will be affected by the
       proposed rule or amendment(s), and identify which stakeholders will bear the costs, and those
       who will benefit. How will the proposed rule or amendment(s) impact particular populations,
       such as those experiencing poverty, immigrant/refugee communities, non-English speakers, and
       rural communities?
        The proposed rule revisions will ensure that all Program providers provide “an equal opportunity to
        enroll and receive preschool services regardless of race, ethnicity, religious affiliation, sexual
        orientation, gender identity, lack of housing, income level, or disability, as such characteristics and
        circumstances apply to the child or the child’s family.” § 26.5-4-205(2)(b), C.R.S.
        Research shows that children who have access to and attend high-quality preschool have higher
        levels of educational attainment and are less likely to experience poverty or enter the criminal
        justice system. Furthermore, research suggests that children from low-income families experience
        the greatest gains from high-quality preschool.


2.     Quality and Quantity: Provide a description of the probable quantitative and qualitative impact
       on persons affected by the proposed rule or amendment(s), and comparison of the probable
       costs and benefits of implementation versus inaction. What are the short- and long-term
       consequences of the proposed rule or amendment(s)?

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               Research shows that children who attend high-quality preschool have higher levels of educational
               attainment and are less likely to experience poverty or enter the criminal justice system.
               Furthermore, research suggests that children from low-income families experience the greatest
               gains from high-quality preschool. All Program providers are required to follow the Quality
               Standards rules, which would impact more than 39,000 four-year-olds.

               Faith-based providers can continue to participate in the Program and will remain eligible to utilize
               any of the remaining preferences at section 4.110(A) that are applicable to them (e.g.
               continuity-of-care, siblings, children of employees, specific competencies/interests), so long as
               they, like any other provider, ensure an equal opportunity to enroll and receive preschool services
               regardless of race, ethnicity, religious affiliation, sexual orientation, gender identity, lack of
               housing, income level, or disability, as such characteristics and circumstances apply to the child or
               the child’s family. § 26.5-4-205(2)(b), C.R.S.; 8 CCR 1404-1 § 4.110(B).


3.           Potential Economic Benefits/Disadvantages: What are the anticipated economic benefits of the
             proposed rule or amendment(s), such as: economic growth, creation of new jobs, and/or
             increased economic competitiveness? Are there any adverse effects on the economy, consumers,
             private markets, small businesses, job creation, and economic competitiveness?
               Research has shown that every $1.00 spent on high-quality early childhood education contributes
               $2.25 to Colorado’s economy.3 Randomized control trials have demonstrated that a high-quality
               preschool program returns to society between about $7 and $12 for each $1 invested.4

4.           Fiscal Impacts: What are the anticipated direct and indirect costs for the state/department to
             implement, administer, and enforce the proposed rule or amendment(s)? What are the direct and
             indirect costs to each of the following entities to comply with the proposed rule or
             amendment(s)? For each, describe the impact or indicate “not applicable.”

               Department                               Not applicable


               Local Governments/                       Not applicable
               Counties


               Providers                                Not applicable


               Community Partners                       Not applicable
               (e.g., School
               Districts, Early
               Childhood Councils,
               etc.)

               Other State                              Not applicable
               Agencies


               Tribal Communities                       Not applicable



3 Butler Institute for Families Graduate School of Social Work University of Denver and Brodsky Research and Consulting, “Bearing the Cost of Early Care and Education in Colorado: An Economic
Analysis,” (September 2017).
4 Heckman, J. J., Moon, S. H., Pinto, R., Savelyev, P. A., & Yavitz, A. (2010). The Rate of Return to the High/Scope Perry Preschool Program. Journal of Public Economics, 94(1-2), 114–128.




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5.     Evaluation: How will implementation of the proposed rule or amendment(s) be monitored and
       evaluated? Please include information about measures and indicators that CDEC will utilize,
       including information on specific populations (identified above).
        The Universal Preschool Program is required by statute to be evaluated through an independent
        evaluation (section 26.5-4-207, C.R.S.). The Department is required to contract with an
        independent evaluator to measure immediate and long-term child outcomes and provide
        recommendations to improve teaching and learning, assess professional development, improve
        teacher-child interactions, and inform a continuous improvement process. The Department is
        required to share this information through the annual SMART Act hearing, beginning in January 2025
        (section 26.5-4-210, C.R.S.). This evaluation will include an evaluation of the Quality Standards.
        Local Coordinating Organizations (LCO’s) will continue to monitor the use of all programmatic
        preferences to ensure that providers utilizing any of the remaining preferences at section 4.110(A)
        that are applicable to them provide an equal opportunity to enroll and receive preschool services
        regardless of race, ethnicity, religious affiliation, sexual orientation, gender identity, lack of
        housing, income level, or disability, as such characteristics and circumstances apply to the child or
        the child’s family. § 26.5-4-205(2)(b), C.R.S.; 8 CCR 1404-1 § 4.110(B).


6.     Comparative Analysis: Provide at least two alternatives to the proposed rule or amendment(s)
       that can be identified, including the costs and benefits of pursuing each of the alternatives.

        While the Department did not intend the congregation preference to permit any actions in conflict
        with section 26.5-4-205(2)(b), C.R.S., a federal district court judge found that because the
        preference is available specifically to faith-based providers, it permits distinctions based on those
        affiliated with faith-based providers, and thus permits distinctions based on religious affiliation. See
        St. Mary Cath. Par. in Littleton v. Roy, 2024 WL 3160324 at *32 (D. Colo. June 4, 2024). Because of
        this finding, there are no alternatives to the proposed rule.


7.     Comparative Analysis: Are there less costly or less intrusive methods for achieving the purpose of
       the proposed rule or amendment(s)? Explain why those options were rejected.

        While the Department did not intend the congregation preference to permit any actions in conflict
        with section 26.5-4-205(2)(b), C.R.S., a federal district court judge found that because the
        preference is available specifically to faith-based providers, it permits distinctions based on those
        affiliated with faith-based providers, and thus permits distinctions based on religious affiliation. See
        St. Mary Cath. Par. in Littleton v. Roy, 2024 WL 3160324 at *32 (D. Colo. June 4, 2024). Because of
        this finding, there are no alternatives to the proposed rule.




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  DEPARTMENT OF EARLY CHILDHOOD

  Colorado Universal Preschool Program

  UNIVERSAL PRESCHOOL PROGRAM RULES AND REGULATIONS

  8 CCR 1404-1
  [Editor’s Notes follow the text of the rules at the end of this CCR Document.]

  _________________________________________________________________________

                                                                    …

  4.103     DEFINITIONS

                                                                    …

  L.        “Congregation” means members of the community that the faith-based provider serves as the
            faith-based provider defines that community.

  LM.       “Cooperative Preschool Provider” means an eligible preschool provider which requires
            participating families to be meaningfully involved in the operation of the cooperative and which is
            at least substantially operated, maintained, or administered by participating families.

  MN.       “Department” means …

  NO.       “ECEA” means the “Exceptional Children’s Educational Act”…

  OP.       “Early childhood mental health program” means …

  PQ.       “Early learning and assessment approach” means …

  QR.       “Eligible child” means …

  RS.       “Eligible preschool provider” means …

  ST.       “Equally qualified provider” means …

  TU.       “Federal Poverty Level” (FPL) or “Federal Poverty Guidelines” (FPG) refers to …

  UV.       “Foster care home” has the same meaning as …

  VW.       “Full-day” means …

  WX.       “Half-day” means …

  XY.       “Head Start program” means …

  YZ.       “IDEA” means …

  ZAA.      “Individualized Education Program” or “IEP” means …

  AABB. “Instructional supervisor” means …




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  BBCC. “Lead teacher” means …

  CCDD. “Low-income” means …

  DDEE. “Multilingual” means …

  EEFF. “Noncertified kinship care” means …

  FFGG. “Parent” has the same meaning as …

  GGHH. “Part-time or slot” means …

  HHII.   “Primary provider” means …

  IIJJ.   “Preschool provider” means …

  JJKK. “Preschool services” means …

  KKLL. “Qualifying factor” means …

  LLMM. “Qualified substitute” means …

  MMNN. “Resource Bank” means …

  NNOO. “School District” means …

  OOPP. “School year” means …

  PPQQ. “Short term basis” means …

  QQRR. “Sibling” means …

  RRSS. “Staff aide” means …

  SSTT. “Substitute” means …

  TTUU. “Universal preschool services” means …

                                                     …

  4.108   PRESCHOOL PROVIDER FUNDING FOR CHILDREN THREE (3) AND FOUR (4) YEARS OF
          AGE

                                                     …

  H.      Per-Child Rate Funding Formula...

          1.     PKC (pre-k costs) means the base cost of providing high quality preschool services
                 based on unique characteristics of provider settings and the families/children they serve,
                 recognized best practices and evidence-based standards, pursuant to sections 26.5-4-
                 208(1)(aA)(I) and 26.5-4-205(2), C.R.S.

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          4.      CL (cost of living) means a cost-of-living adjustment determined at the county level to
                  reflect evolving local economic realities and support recruitment and retention of a high-
                  quality workforce, as required by section 26.5-4-208(1)(aA)(III), C.R.S.

          5.      LIC (low income by county) means the parameter determined at the county level to
                  account for the identification of children in low-income families, as defined by rule section
                  4.105(A) and pursuant to section 26.5-4-208(1)(aA)(IV), C.R.S.

          6.      GF (geographic factor) means the factor that adjusts for regional differences and
                  circumstances unique to rural communities that result in variations in the cost of providing
                  preschool services, which may include difficulties in achieving economies of scale in rural
                  areas and in recruiting and retaining preschool educators, as required by section 26.5-4-
                  208(1)(aA)(III), C.R.S.

          7.      QE (quality enhancement) means the component that accounts for the cost of providing
                  professional development activities and salary incentives to teachers and
                  paraprofessionals pursuant to sections 26.5-4-208(1)(aA)(I) and 26.5-4-205(2), C.R.S.

                                                       ...

  4.109   GENERAL REQUIREMENTS AND PROVISIONS

                                                       …

  F.      Educating Children with Disabilities.

                                                       …

          2.      Eligible preschool providers educating children with disabilities shall ensure compliance
                  with the applicable provisions of the “Individuals with Disabilities Education Act” (IDEA),
                  as incorporated by reference in rule section 4.103(YZ).

                                                       …

  4.110   PROVIDER MATCHING CRITERIA

  A.      Eligible preschool providers may utilize the following programmatic preferences to the deferred
          acceptance algorithm component of the matching process:

          1.      Faith-based providers granting preference to members of their congregation;

          12.     Cooperative preschool providers requiring participation in the cooperative;

          23.     School districts maintaining enrollment consistent with their established boundaries;

          34.     Participating preschool providers reserving placements for a student(s) with an
                  Individualized Education Program (IEP) to ensure conformity with obligations incurred
                  pursuant to the Individuals with Disabilities Education Act, 20 U.S.C. section 1400 (2004),
                  or the Exceptional Children’s Education Act, Article 20 of Title 22, C.R.S.;

          45.     Head Start programs’ adhering to any applicable federal law requirements including
                  eligibility requirements;

          76.     Participating preschool providers granting preference to an eligible child of one (1) of their
                  employees;




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          67.      Participating preschool providers granting preference to an eligible child to ensure
                   continuity-of-care for that child;

          78.      Participating preschool providers granting preference to an eligible child to keep siblings
                   similarly located;

          89.      Participating preschool providers granting preference to an eligible child who is
                   multilingual, to ensure proper delivery of services to that child.

          910.     Participating preschool providers may grant preference to an eligible child based: on the
                   child and/or family being a part of a specific community; having specific competencies or
                   interests; having a specific relationship to the provider, provider’s employees, students, or
                   their families; receiving specific public assistance benefits; or participating in a specific
                   activity. Participating preschool providers seeking to utilize this preference, must ensure:

                   a.      That the specific community, competencies or interests, relationship, public
                           assistance benefit, or activity being required of children and/or families who
                           attend, is a requirement of all participating children and/or families.

                   b.      That implementation of requiring the specific community, competencies or
                           interests, relationship, public assistance benefit, or activity does not conflict with
                           any other provision of the Colorado Universal Preschool Program statutes at
                           sections 26.5-4-201 through 26.5-4-211, C.R.S., nor with any other applicable
                           law or regulation.

                   c.      Examples of approved preferences include, but are not limited to: participating
                           preschool providers who require a focus in a certain knowledge area (such as
                           science, technology, engineering, and math (“STEM”)); providers who serve
                           families with a family member who works or attends school at a specific site(s) or
                           location(s); providers who serve families within a specific geographical catchment
                           area; providers who require a certain amount of volunteering or participation by
                           the participating family; providers who require certain vaccinations for the health
                           and safety of its staff and students; and providers who serve families who are
                           receiving a specific public assistance benefit(s) such as housing assistance.

  B.      In utilizing these programmatic preferences, eligible preschool providers must still comply with
          rule section 4.109(B).

                                                        …

  _________________________________________________________________________

  Editor’s Notes

  History
  New rule emer. rule eff. 09/29/2022.
  Rules 4.101, 4.104, 4.105 emer. rules eff. 11/21/2022.
  Rules 4.100-4.103 eff. 01/14/2023.
  Rules 4.101, 4.104, 4.105 eff. 03/17/2023.
  Rule 4.105 emer. rule eff. 06/23/2023.
  Rule 4.105 eff. 09/30/2023.
  Entire rule emer. rule eff. 01/22/2024.
  Entire rule eff. 04/14/2024.




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  Rules 4.103, 4.109-4.114 eff. 05/15/2024.
  Rules 4.103, 4.107 B.2, 4.108 emer. rules eff. 05/16/2024.
  Rules 4.103, 4.107 B.2, 4.108 eff. 08/30/2024.




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